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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,             )
                                      )       ORDER GRANTING MOTION
               Plaintiff,             )       FOR OUT OF STATE TRAVEL
                                      )
       vs.                            )
                                      )
Ricardo Augustus Bryan,               )       Case No.: 4:12-cr-175-20
                                      )
               Defendant.             )
                                      )


       Defendant Ricardo Augustus Bryan is charged with thirty-one counts related to a wire fraud

and money laundering conspiracy. On August 30, 2013, he appeared in the Southern District of

Florida and was released on conditions pending trial. On October 25, 2013, this court issued an

order continuing the release conditions set in Florida. Those conditions include a condition

restricting defendant’s travel to the Southern District of Florida, the District of North Dakota, and

any intermediate districts.

       On November 20, 2013, Defendant filed a motion requesting that he be permitted to travel

to Atlanta, Georgia from November 28, 2013 through December 1, 2013, to celebrate the

Thanksgiving holiday with his family. The Government does not object to the motion. The court

GRANTS the motion (Docket No. 231) and ORDERS Defendant’s release conditions modified to

permit the travel described above.

       Dated this 21st day of November, 2013.

                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court
